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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

Civil Action No. 1:24-cv-2811-GPG-NRN

URBAN INTERESTS LLC, individually and
on behalf of all others similarly situated,

       Plaintiff,

v.

FLUID MARKET INC., FLUID FLEET SERVICES LLC,
HHK VEHICLES, INC., JAMES EBERHARD, JENIFER SNYDER,
PALADIN MANAGEMENT GROUP, LLC, and THOMAS SCOTT AVILA,

       Defendants.

 DEFENDANTS AVILA AND PALADIN’S REPLY IN SUPPORT OF THEIR MOTION
  TO DISMISS PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT

       Plaintiff criticizes Snyder/Eberhard’s respective Motions to Dismiss, suggesting

that the Court must purportedly “enter an alternative universe” to believe their arguments

(ECFs 91 at 2; 92 at 2). Yet, Plaintiff’s Response to Avila/Paladin’s Motion to Dismiss

does just that by advancing arguments that ignore its own allegations, omissions, and the

law. Plaintiff unjustly asserts Avila and Paladin are trying “to shirk responsibility, or point

the finger to other co-defendants” (ECF 93 at 5). Not true. Plaintiff points the finger at

everyone else and Plaintiff has provided no factual or legal basis to maintain its claims

for civil theft or conversion against Avila and Paladin. Plaintiff has pled itself into the legal

equivalent of a rock and hard place as it squarely (and in great detail) places blame on

other defendants that undermines the very fabric of its claims against Avila and Paladin.

       As such, for the reasons set forth below and in their joint Motion to Dismiss, (ECF

89), Avila and Paladin’s Motion to Dismiss should be granted in full, with prejudice.




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I.     Plaintiff’s Deficient Civil Theft Claim Against Avila and Paladin Fails.

       a.      Plaintiff has failed to assert a factual or legal basis to sustain a claim
               for civil theft against Avila and Paladin.

       Plaintiff asserts that the sole basis for its civil theft claim against Avila/Paladin is

they “took money belonging to the FVIPs.” (ECF 93 at 5, 8–9). That is simply untrue as

the Second Amended Complaint makes no such allegations. (See ECF 76). Instead, the

Second Amended Complaint merely asserts that Avila and Paladin, in their managerial

capacities, used certain Funds in Fluid’s possession to fund Fluid’s operations. (See, e.g.,

ECF 76 ¶¶ 71–72, 74–75). That is not a viable basis to assert a civil theft claim as it is

undisputed, as Plaintiff concedes, such a claim can only be asserted against “takers” and

“possessors.” (ECF 93 at 8). But, even if a “user” could be held liable for civil theft (which

it legally cannot), Plaintiff’s claim still fails for the reasons set forth in Avila’s and Paladin’s

Motion to Dismiss. (See ECF 89 at 9–12). Plaintiff’s response as to each of the reasons

set forth in Avila’s and Paladin’s Motion also fail.

       First, in its Response, Plaintiff cites to various paragraphs in the Second Amended

Complaint, which purportedly establish that Avila and/or Paladin took FVIP monies. (ECF

93 at 7–8). None of these paragraphs make any such allegations, (see ECF 76 ¶¶ 67–

68, 71, 81, 90), or are unfounded, conclusory allegations not entitled to the presumption

of truth. (See id. ¶ 127); Khalik v. United Air Lines, 671 F.3d 1188, 1193 (10th Cir. 2012).

       What’s more, Plaintiff fails to respond to the fact that the Second Amended

Complaint does not allege that the $2.1 million in the Disposition Accounts only contained

FVIP funds. Compare (ECF 89 at 10) with (ECF 93). Absurdly, Plaintiff states in its

Response (but not the Second Amended Complaint) that at the time Avila and Paladin

were retained Fluid held $2.1 million in trust belonging to Plaintiff and the other FVIPs.




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(ECF 93 at 4) (citing ECF 76 ¶ 67). Not only does the Second Amended Complaint

conclusively not say anything about funds being held in trust, it states the exact opposite.

Compare (ECF 76 ¶ 67) with (ECF 76 ¶¶ 55–60, 62).

       In fact, Plaintiff asserts in response to HHK, Snyder, and Eberhard’s motions to

dismiss that the at-issue funds were “supposed to be held in trust by Fluid,” but were not.

(See ECFs 90 at 2; 91 at 4; 92 at 4). And, because the Second Amended Complaint fails

to state that the Disposition Accounts only contain FVIP funds, Plaintiff has not alleged

and cannot allege that the portion of any of the accounts “used” by Avila and/or Paladin

for Fluid operations actually belonged to Plaintiff or any FVIP. See Million v. Grasse, 2024

COA 22 (“[M]oney is fungible” so civil theft claims wherein the property at issue is money

require a showing of specifically identifiable funds or accounts, such as escrow accounts).

       Additionally, Avila and Paladin showed that of the roughly $11 million alleged to be

at issue, Plaintiff asserts that other Defendants took over $11.8 million of the at-issue

money before Avila/Paladin were retained. (ECF 89 at 5, 8). Plaintiff concedes this

summation in its Responses to other Defendants’ motions. (See ECFs 91 at 12; 92 at 12).

More importantly, Plaintiff concedes that its allegations against Avila and Paladin relate

only to actions taken after other Defendants were terminated, and thus “after” the “more

than $11 million” was taken. (ECF 93 at 8).

       Plaintiff has now alleged three time that “more than $11 million” was taken from

FVIPs. (See ECFs 1 at ¶¶ 1, 27; 33 at ¶¶ 1, 33; 76 at ¶¶ 1, 50, 84). “More than $11 million”

was calculated as just over $11.8 million. (ECF 89 at 5). Notwithstanding Plaintiff’s very

detailed allegation, Plaintiff does not allege it is owed “more than $12 million,” which

shows that Plaintiff is not seeking beyond $11.8 million, all of which money was allegedly




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taken prior to Avila’s and Paladin’s retention. (Id. at 5). Plaintiff has no response to this

summation, and it has failed to assert any allegations that the amount allegedly taken

from FVIPs exceeds the $11.8 million taken prior to Avila/Paladin’s retention.

       Second, after Plaintiff concedes that civil theft claims may only be maintained

against a “taker” or a “possessor,” (ECF 90 8–9), it tries in the Response to twist its own

allegations to argue that Avila and Paladin are not just users, but are “possessors”

because their invoices were paid from the slush fund that were the Disposition Accounts.

(ECF 93 at 10). That assertion also fails as Plaintiff cites only to unfounded legal

conclusions, (see ECF 76, ¶¶ 120–122, 127), none of which assert Avila/Paladin possess

at-issue funds. The only allegations Plaintiff makes on that issue is that Fluid or HHK

possess the funds. (ECF 76 ¶¶ 1, 50, 83, 112–114, 124–125, 133, 140). That is why

Plaintiff is only asserting a money-had-and-received claim against Fluid and HHK.

       Plaintiff also fails to address that the Goode case cited by Defendants also

discussed a failure to plead a civil theft claim in the absence of allegations that the Goode

plaintiff had been deprived of specific funds. See Goode v. Ramsaur, 2024 U.S. Dist.

LEXIS 147009, at *49–50 (D. Colo. Aug. 16, 2024) (noting that an allegation of the

deprivation of specific funds is a “necessary element”).

       Third, Plaintiff bolds various words in its allegations in an attempt to hide the fact

that it fails to allege that the $2.1 million allegedly in the Disposition Accounts when Avila

and Paladin were retained were only FVIP proceeds. (ECF 93 at 10–11). Plaintiff then

dodges the commingling argument proffered by Avila/Paladin and states, without more,

that “even if the stolen funds were commingled with other funds, that is irrelevant to

Plaintiff’s claim for civil theft.” (ECF 93 at 11). The reason why Plaintiff fails to provide an




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explanation is because none exists. As Avila/Paladin showed, because the Disposition

Accounts were purportedly commingled with non-FVIP funds, it makes it “impossible” to

determine what funds were allegedly used. Connolly v. Asbestos Abatement, Inc., 606

B.R. 871, 886 (Bankr. D. Colo. 2019); U.S. v. Battles, 745 F.3d 436, 456 (10th Cir. 2014).

       Fourth, Plaintiff tries yet again to assert Avila/Paladin retained or possess at-issue

funds by pointing solely to Paragraph 72 of the Second Amended Complaint. (See ECF

93 at 11–12). That is not what is alleged in that Paragraph. (ECF 76 ¶ 72) (alleging Avila

and Paladin “used” funds in the slush Disposition Accounts). And, as stated above, no

such allegations are asserted against Avila/Paladin, but only against HHK and Fluid.

       Fifth, in response to Defendants’ arguments against Plaintiff’s attempts to expand

the reach of the civil theft statute, Plaintiff relies exclusively on its conclusory allegation in

Paragraph 127 to support its claim that Avila/Paladin allegedly “took FVIPs’ property.”

(ECF 93 at 12). That allegation is merely a conclusory assertion without any factual basis,

and is insufficient to assert a claim. Plaintiff then argues that Avila did not personally

commit civil theft or conversion, he engaged in ancillary conduct apart from the allegedly

tortious acts themselves, but can still be held personally liable as a corporate officer. (See

ECF 93 at 13). In other words, Plaintiff believes this principle is sufficient by itself to assert

a plausible claim for civil theft or conversion against Avila. That is incorrect.

       The cited principle serves to preclude a corporate officer, who personally “inflict[ed]

wrong and injuries upon others” from “shield[ing] himself from liability behind his vicarious

character.” Snowden v. Taggart, 17 P.2d 305, 307 (Colo. 1932). It is not a stand-alone

cause of action. See id. Moreover, in Hoang v. Arbess, the Court of Appeals held that an

officer may be personally liable for their “individual acts … even though committed on




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behalf of the corporation.” 80 P.3d 863, 867 (Colo. App. 2003). “And the corporate veil

need not be pierced where a tort action is brought against an officer or director and the

elements of the tort are proved.” Id. at 868 (collecting cases) (emphasis added).

       Meaning, the law Plaintiff cites is a pseudo-defense to a corporate officer trying to

avoid liability because the officer engaged in conduct in their corporate capacity. That is

not the case here. More importantly, an officer can be held personally liability only if the

plaintiff establishes the requisite elements of that tort against that officer. Unless the

plaintiff can establish an underlying claim against the officer, alleging the officer approved,

sanctioned, or cooperated in some alleged conduct is irrelevant.

       That is where Plaintiff misses the mark. Civil theft and conversion are intentional

torts, and require the tortfeasor to personally deprive an owner of their property or

personally exercise domain/control over the property. See Chavez v. Chavez-Krumland,

2022 COA 89M, ¶ 47 (civil theft requires specific intent); Harris Group v. Robinson, 209

P.3d 1188 (Colo. App. 2009) (“Conversion is an intentional tort”). As noted above (and

below with respect to conversion), Plaintiff fails to allege Avila personally committed any

act to sustain a claim for civil theft or conversion, much less does Plaintiff allege sufficient

affirmative conduct by Avila to satisfy the elements of these torts. Thus, Plaintiff’s

argument for why Avila can be held liable is legally baseless and fails as a matter of law.

       b.     Plaintiff fails to establish specifically identifiable funds at issue, and
              thus fails to plead civil theft against Avila and Paladin.

       Plaintiff bizarrely states that the Million court “expressly limited its holding to cases

in which a plaintiff alleged both a breach of contract and civil theft claim.” (ECF 93 at 14).

That is plainly wrong. See generally Million, 2024 COA 22 (not limiting its holding); see

also Goode, 2024 U.S. Dist. LEXIS 147009, at *49–50 (holding that, to state a claim for




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stolen money pursuant to C.R.S. § 18-4-405, an allegation of the deprivation of “specific

funds” is a necessary element). Even Plaintiff’s quotation of the Million case contradicts

its argument. (ECF 93 at 14). Regardless, Plaintiff cites Paragraphs 52, 67–68, 77–78,

and 81 of the Second Amended Complaint in a desperate attempt to show that it alleged

specifically identifiable accounts and funds. (ECF 93 at 15). None of these paragraphs

allege specifically identifiable accounts or funds that were in existence at the time Avila

and Paladin entered the picture. (See ECF 76 ¶¶ 52, 67–68, 77–78, 81). At best, Plaintiff

alleges the “design” of the accounts was to hold only FVIP proceeds, but Plaintiff explicitly

alleges that the actual usage of the accounts was the opposite. (Id. ¶¶ 52–60, 62).

       The Colorado Court of Appeals in Million clearly set forth the requirements to

sustain a civil theft claim when then property at issue is money, and Plaintiff’s allegations

clearly fall outside the parameters of such a claim. See Million, 2024 COA 22, ¶¶ 47–50.

Regardless of how the Disposition Accounts were intended to be used, or how they were

initially used, by the time Avila and Paladin were retained, the Disposition Accounts were

conclusively not specifically identifiable accounts containing specifically identifiable funds.

(ECF 76, ¶¶ 60, 62). Plaintiff wholly fails to address Defendants’ showing that Plaintiff

affirmatively alleges that the use of the Disposition Accounts as slush funds was

formalized prior to Avila’s and Paladin’s retention. Compare (ECF 89 at 5) with (ECF 93).

II.     Plaintiff’s Deficient Conversion Claim against Avila and Paladin Fails.

       Plaintiff surprisingly states that it sufficiently alleged that Defendants had dominion

over the Disposition Accounts and the insurance proceeds. (ECF 93 at 15–16). To the

contrary, the word “dominion” does not appear in the Second Amended Complaint, much

less in Plaintiff’s cited paragraphs, and Plaintiff does not allege Avila/Paladin exercised

control or ownership over any actual FVIP funds at issue. (See ECF 89 at 14).



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       Plaintiff’s reliance on the 1957 Standley case is also misplaced. The defendants in

Standley admitted that money received belonged to others, which is indisputably not the

case here. See Standley v. Am. Auto. Ins. Co., 314 P.2d 696, 697 (Colo. 1957).

       Continuing Plaintiff’s exploration of historical cases, Plaintiff cites to the 1970

Schmidt case in an attempt to excuse its own failure to plead that Plaintiff made a demand

upon Avila and/or Paladin for the return of its alleged monies. (ECF 93 at 16). However,

Colorado law is clear that a “demand … for the return of the property and a refusal to

comply therewith were prerequisites to [a plaintiff’s] right to recover damages for

conversion.” McCartney v. Foster, 150 Colo. 537, 539 (1962) (citing Davis v. American

Nat’l Bank, 149 Colo. 34 (1961)); Williams v. Genesis Fin. Techs., Inc., 790 Fed. Appx.

161, 165 (10th Cir. 2019) (“Under Colorado law … A demand for return of the property

and refusal by the controlling party are predicates to a successful claim.”).

       But, even if Schmidt applies, Plaintiff states that a demand is unnecessary because

“Mr. Avila announced his refusal to return FVIP owners’ funds in his August 21, 2024

email”, and certain insurance proceeds were not segregated when received by Fluid.

(ECF 93 at 16) (citing ECF 76 ¶¶ 77, 81). Plaintiff’s argument fails for two reasons.

       First, Paragraph 77, which largely quotes Avila’s alleged August 21, 2024, email,

states nothing that could possibly be interpreted as a refusal to return FVIP monies. (ECF

76 ¶ 77). In that email, Avila communicates on behalf of Fluid, as opposed to in his

personal capacity, that Fluid is facing significant financial challenges and are, at that time,

unable to process arrears payments, but that the company expects to pay out insurance

and sales proceeds monies in a timely manner moving forward. (Id.). Paragraph 81 is

also inapplicable as it concerns Fluid allegedly using insurance funds for operations that




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should have been segregated, not Avila or Paladin controlling, claiming, possessing, or

refusing to relinquish such funds. (Id. ¶ 81).

       Second, Plaintiff once again argues itself into a corner by citing the Montgomery

Ward case for the proposition that “the tort of conversion is complete upon the taking.”

(ECF 93 at 16). Plaintiff seemingly forgets that it alleges that HHK first possessed all of

the sale proceeds at issue without authorization, (ECF 76 ¶ 31), and Fluid improperly

retained or spent all proceeds thereafter. (Id. ¶¶ 1, 50–51). Meaning, the alleged

conversion was completed by HHK and Fluid before Avila/Paladin allegedly did anything.

And, as noted above, Plaintiff concedes the total amount being sought in this case ($11.8

million) was allegedly taken before Avila/Paladin entered the picture. (See ECFs 89 at 5;

93 at 8). Therefore, Plaintiff’s conversion claim fails as a matter of law.

                                      CONCLUSION

       WHEREFORE, for the reasons stated above, and those set forth in their Motion to

Dismiss, Defendants Avila and Paladin respectfully request that this Court GRANT their

Motion to Dismiss, dismiss with prejudice Plaintiff’s Second and Third Claims for Relief

against Avila and Paladin, and grant to them any and all further relief as this Court deems

just and appropriate.

                                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of June, 2025, a true and correct copy of
DEFENDANTS AVILA AND PALADIN’S REPLY IN SUPPORT OF THEIR MOTION TO
DISMISS PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT was filed
and served electronically via the CM/ECF system which will send notification of the filing
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